
The plaintiff, in the motion, had obtained a judgment against the defendant at common law; to which judgment the defendant had obtained *an injunction, on giving security for performing the decree of the Court of Chancery: On hearing the bill was dismissed; and from that decree the complainant Syme appealed to this court. The same person, who had been his security, on obtaining the injunction, was his security on the appeal; and now this motion was made for a rule to dismiss the appeal, unless the appellant would give further security; because the security in the appeal bond, having been security to the injunction, was already bound for the debt; and was, therefore, not such additional security, as every appellee was entitled to. But this motion was overruled, the objection being deemed insufficient; and this further rule was entered into, “That objections to securities given upon obtaining writs of supersedeas, writs of error, or appeals, shall hereafter be made to that court, to which the writ, or record shall be returnable, and not afterwards.”
